
*782OPINION.
Siefkin:
The respondent’s valuation of the three tracts of real estate in question is based upon a theory that the annual rental receivable on such real estate, encumbered by long-term leases, fixes the value. On March 1, 1913, the petitioner, under the terms of the leases, was receiving $1,400 a year and the respondent suggests that that amount be considered as the equivalent of interest upon the investment. Such a method leaves out of consideration several factors which are applicable in this proceeding. The petitioner was making a long-term investment for his three daughters and was satisfied that nothing compared with long-term leases to public utilities which guaranteed a certain return and paid all taxes. The provision for valuation at the end of 20 years gave promise of revision of rental upward only. The attitude of the petitioner in 1914 in refusing $100,000 for the same property, while not conclusive, shows his attitude at about the basic date and also indicates the belief of the lessees as to the value of the fee title owned by the petitioner. Taken in connection with the testimony of a large number of qualified witnesses as to values, the evidence abundantly supports the value for the petitioner’s interest which we have found.

Judgment will be entered under Bule 50.

